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                    IN THE UNITED STATES DISTRICT COURT FOR THE.
                                                                                         FILED
                             EASTERN DISTRICT OF VIRGINIA                           IN OPEN COURT


                                       Alexandria Division
                                                                                    MAY 20 2013
UNITED STATES OF AMERICA
                                                                              CLERK, U.S.

               V.                                    No. l:19-cr-I12(LO)

BRANDON SOBOTTA,

               Defendant.


                                   STATEMENT OF FACTS


       The parties stipulate that the following facts are true and correct and that, had the matter

gone to trial, the United States would have proven them beyond a reasonable doubt.

       1.      The defendant, Brandon Sobotta, has known Richard Pak since middle school.

Beginning in or about 2011, and continuing thereafter until in or about late 2018, except for

periods during which the defendant was incarcerated, Richard Pak distributed marijuana to the

defendant, which the defendant then distributed to others. Beginning in or about 2017, and

continuing thereafter until in or about late 2018, Richard Pak distributed cocaine to the

defendant, which the defendant distributed to others. During this time, the defendant also began

using cocaine obtained from Richard Pak.

       2.      On or about September 25, 2018, Richard Pak asked the defendant to deliver

cocaine to a customer in the Cenlreville area. The defendant agreed. Richard Pak tliereafter

gave the defendant approximately three ounces of cocaine. Richard Pak instructed the defendant

as to how the defendant was to deliver the cocaine to a customer.

       3.      Shortly after 8:00 p.m. on September 25, 2018, the defendant contacted the

customer by telephone (by both voice and text message), to arrange a meeting. The customer

was,in fact, an undercover police officer(UC). The defendant and the UC then met in the UC's
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    vehicle near a residence on Golden Oak Road in Centreville, Virginia, in the Eastern District of

    Virginia. At that location, the defendant distributed approximately three ounces of cocaine

    (89.74 grams)in a clear plastic bag to the UC. In exchange, the UC gave the defendant $4,600

    in cash. Following the transaction, the defendant delivered the money to Spencer Pak.

             4.    The acts taken by the defendant, Brandon Sobotta, in furtherance of the offense

    charged in this case, including the acts described above, were done willfully and knowingly with

    the specific intent to violate the law. The defendant acknowledges that the foregoing statement

    of facts does not describe all ofthe defendant's conduct relating to the offenses charged in this

    case nor does it identify all ofthe persons with whom the defendant may have engaged in illegal

    activities. The defendant further acknowledges that he is obligated under his plea agreement to

    provide additional information about this case beyond that which is described in this statement of

    facts.



                                                  Respectfully submitted,

                                                  G.Zachary Terwilliger
                                                  United States Attorney




                                                "l^mes L. Trump
                                                  Carina A. Cuellar
                                                  Assistant United States Attorneys
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       After consulting with my attorney and pursuant to the plea agreement entered into this
day between the defendant, Brandon Sobotta, and the United States, I hereby stipulate that the
above Statement of Facts is true and accurate and that, had the matter proceeded to trial, the
United States would have proved the same beyond a reasonable doubt.


Date:
                                            Brandon Sobotta
                                            Defendant




       I am Brandon Sobotta's attorney. I have carefully reviewed the above Statement of Facts
with him. To my knowledge, his decision to stipulate to these facts is an informed and voluntary
one.




Date
                                            Joseph      lood
                                             Couns   for tlie Defendant
